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Dated: March 13, 2023                 Respectfully submitted,


                                      By:    /s/ Kenneth M. Dintzer
                                      Kenneth M. Dintzer
                                      Sara T. Gray
                                      R. Cameron Gower
                                      Karl. E. Herrmann (DC Bar #1022464)
                                      U.S. Department of Justice, Antitrust Division
                                      Technology & Digital Platforms Section
                                      450 Fifth Street NW, Suite 7100
                                      Washington, DC 20530
                                      Telephone: (202) 227-1967
                                      Kenneth.Dintzer2@usdoj.gov

                                      Counsel for Plaintiff United States of America




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                             By:    /s/ Margaret Sharp
                             Ken Paxton, Attorney General
                             James Lloyd, Chief, Antitrust Division
                             Margaret Sharp, Assistant Attorney General
                             Office of the Attorney General, State of Texas
                             300 West 15th Street
                             Austin, Texas 78701
                             Margaret.Sharp@oag.texas.gov

                             Counsel for Plaintiff State of Texas


                             By:     /s/ Matthew Michaloski
                             Theodore Edward Rokita, Attorney General
                             Scott L. Barnhart, Chief Counsel and Director,
                             Consumer Protection Division
                             Matthew Michaloski, Deputy Attorney General
                             Christi Foust, Deputy Attorney General
                             Office of the Attorney General, State of Indiana
                             Indiana Government Center South, Fifth Floor
                             302 West Washington Street
                             Indianapolis, Indiana 46204
                             Matthew.Michaloski@atg.in.gov

                             Counsel for Plaintiff State of Indiana


                             By:     /s/ Keaton Barnes
                             Keaton Barnes
                             Arkansas Bar No. 2022161
                             Assistant Attorney General
                             Office of Tim Griffin, Attorney General
                             323 Center Street, Suite 200
                             Little Rock, AR 72201
                             Keaton.Barnes@ArkansasAG.gov

                             Counsel for Plaintiff State of Arkansas




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                             By:    /s/ Brian Wang
                             Rob Bonta, Attorney General
                             Ryan J. McCauley, Deputy Attorney General
                             Brian Wang, Deputy Attorney General
                             Henry Cornillie, Deputy Attorney General
                             Paula Blizzard, Supervising Deputy Attorney
                             General
                             Office of the Attorney General,
                             California Department of Justice
                             455 Golden Gate Avenue, Suite 11000
                             San Francisco, California 94102
                             Brian.Wang@doj.ca.gov

                             Counsel for Plaintiff State of California


                             By:     /s/ Lee Istrail
                             Ashley Moody, Attorney General
                             R. Scott Palmer, Special Counsel, Complex
                             Enforcement Chief, Antitrust Division
                             Nicholas D. Niemiec, Assistant Attorney General
                             Lee Istrail, Assistant Attorney General
                             Office of the Attorney General, State of Florida
                             PL-01 The Capitol
                             Tallahassee, Florida 32399
                             Lee.Istrail@myfloridalegal.com
                             Scott.Palmer@myfloridalegal.com

                             Counsel for Plaintiff State of Florida



                             By:    /s/ Daniel Walsh
                             Christopher Carr, Attorney General
                             Margaret Eckrote, Deputy Attorney General
                             Daniel Walsh, Senior Assistant Attorney General
                             Charles Thimmesch, Assistant Attorney General
                             Office of the Attorney General, State of Georgia
                             40 Capitol Square, SW
                             Atlanta, Georgia 30334-1300
                             cthimmesch@law.georgia.gov

                             Counsel for Plaintiff State of Georgia




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                             By:     /s/ Philip R. Heleringer
                             Daniel Cameron, Attorney General
                             J. Christian Lewis, Commissioner of the Office of
                             Consumer Protection
                             Philip R. Heleringer, Executive Director of the
                             Office of Consumer Protection
                             Jonathan E. Farmer, Deputy Executive Director
                             of the Office of Consumer Protection
                             Office of the Attorney General, Commonwealth
                             of Kentucky
                             1024 Capital Center Drive, Suite 200
                             Frankfort, Kentucky 40601
                             Philip.Heleringer@ky.gov

                             Counsel for Plaintiff Commonwealth of Kentucky


                             By:    /s/ Christopher J. Alderman
                             Jeff Landry, Attorney General
                             Christopher J. Alderman, Assistant Attorney
                             General
                             Office of the Attorney General, State of
                             Louisiana
                             Public Protection Division
                             1885 North Third St.
                             Baton Rouge, Louisiana 70802
                             AldermanC@ag.louisiana.gov

                             Counsel for Plaintiff State of Louisiana


                             By:    /s/ Scott Mertens
                             Dana Nessel, Attorney General
                             Scott Mertens, Assistant Attorney General
                             Michigan Department of Attorney General
                             P.O. Box 30736
                             Lansing, Michigan 48909
                             MertensS@michigan.gov

                             Counsel for Plaintiff State of Michigan




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                             By:    /s/ Stephen M. Hoeplinger
                             Stephen M. Hoeplinger
                             Assistant Attorney General
                             Missouri Attorney General’s Office
                             815 Olive St., Suite 200
                             St. Louis, Missouri 63101
                             Stephen.Hoeplinger@ago.mo.gov

                             Counsel for Plaintiff State of Missouri


                             By:    /s/ Hart Martin
                             Lynn Fitch, Attorney General
                             Hart Martin, Special Assistant Attorney General
                             Crystal Utley Secoy, Assistant Attorney General
                             Office of the Attorney General, State of
                             Mississippi
                             P.O. Box 220
                             Jackson, Mississippi 39205
                             Hart.Martin@ago.ms.gov

                             Counsel for Plaintiff State of Mississippi


                             By: /s/ Anna Schneider
                             Anna Schneider
                             Bureau Chief
                             Montana Office of Consumer Protection
                             P.O. Box 200151
                             Helena, MT. 59602-0150
                             Phone: (406) 444-4500
                             Fax: 406-442-1894
                             Anna.schneider@mt.gov

                             Counsel for Plaintiff State of Montana




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                             By:    /s/ Mary Frances Jowers
                             Alan Wilson, Attorney General
                             W. Jeffrey Young, Chief Deputy Attorney
                             General
                             C. Havird Jones, Jr., Senior Assistant Deputy
                             Attorney General
                             Mary Frances Jowers, Assistant Deputy Attorney
                             General
                             Rebecca M. Hartner, Assistant Attorney General
                             Office of the Attorney General, State of South
                             Carolina
                             1000 Assembly Street
                             Rembert C. Dennis Building
                             P.O. Box 11549
                             Columbia, South Carolina 29211-1549
                             mfjowers@scag.gov

                             Counsel for Plaintiff State of South Carolina


                             By:    /s/ Gwendolyn J. Lindsay Cooley
                             Joshua L. Kaul, Attorney General
                             Gwendolyn J. Lindsay Cooley, Assistant
                             Attorney General
                             Wisconsin Department of Justice
                             17 W. Main St.
                             Madison, Wisconsin 53701
                             Gwendolyn.Cooley@Wisconsin.gov

                             Counsel for Plaintiff State of Wisconsin




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                             FOR PLAINTIFF STATE OF COLORADO:

                             PHILIP WEISER
                             Attorney General

                             Jonathan B. Sallet
                             Special Assistant Attorney General

                             /s/ Jonathan B. Sallet
                             Jonathan B. Sallet, DC Bar No. 336198
                             Jon.Sallet@coag.gov
                             Steven M. Kaufmann, DC Bar No. 1022365
                             (inactive)
                             Steve.Kaufmann@coag.gov
                             Carla Baumel
                             Carla.Baumel@coag.gov
                             Elizabeth W. Hereford
                             Elizabeth.Hereford@coag.gov
                             Colorado Office of the Attorney General
                             1300 Broadway, 7th Floor
                             Denver, CO 80203
                             Tel: 720-508-6000

                             William F. Cavanaugh , Jr.
                             PATTERSON BELKNAP WEBB & TYLER
                             LLP
                             1133 Avenue of the Americas
                             Suite 2200
                             New York, NY 10036-6710
                             212-335-2793
                             Email: wfcavanaugh@pbwt.com

                             Counsel for Plaintiff Colorado




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                             FOR PLAINTIFF STATE OF NEBRASKA:

                             MIKE HILGERS
                             Attorney General

                             Joseph M. Conrad, Assistant Attorney General
                             Colin P. Snider, Assistant Attorney General
                             Matthew K. McKinley, Special Assistant
                             Attorney General
                             Nebraska Department of Justice
                             Office of the Attorney General
                             2115 State Capitol
                             Lincoln, NE 68509
                             Telephone: (402) 471-3840
                             Joseph.Conrad@nebraska.gov
                             Colin.snider@nebraska.gov
                             Matt.Mckinley@nebraska.gov

                             William F. Cavanaugh , Jr.
                             PATTERSON BELKNAP WEBB & TYLER
                             LLP
                             1133 Avenue of the Americas
                             Suite 2200
                             New York, NY 10036-6710
                             212-335-2793
                             Email: wfcavanaugh@pbwt.com

                             Counsel for Plaintiff Nebraska


                             FOR PLAINTIFF STATE OF ARIZONA:

                             KRISTIN K. MAYES
                             Attorney General

                             Robert A. Bernheim, Unit Chief Counsel
                             Arizona Office of the Attorney General
                             400 West Congress, Ste. S-315
                             Tucson, Arizona 85701
                             Tel: (520) 628-6507
                             Robert.bernheim@azag.gov

                             Counsel for Plaintiff Arizona




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Case 1:20-cv-03010-APM Document 539 Filed 03/13/23 Page 10 of 26




                             FOR PLAINTIFF STATE OF IOWA:

                             BRENNA BIRD
                             Attorney General

                             Noah Goerlitz, Assistant Attorney General
                             Office of the Attorney General of Iowa
                             1305 E. Walnut St., 2nd Floor
                             Des Moines, IA 50319
                             Tel: (515) 725-1018
                             Noah.goerlitz@ag.iowa.gov

                             Counsel for Plaintiff Iowa


                             FOR PLAINTIFF STATE OF NEW YORK:

                             LETITIA JAMES
                             Attorney General

                             Elinor R. Hoffmann
                             Morgan J. Feder
                             Michael Schwartz
                             Office of the Attorney General of New York
                             28 Liberty Street, 21st Floor
                             New York, NY 10005
                             212-416-8513
                             Elinor.hoffmann@ag.ny.gov
                             Morgan.feder@ag.ny.gov
                             Michael.schwartz@ag.ny.gov

                             Counsel for Plaintiff New York




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                             FOR PLAINTIFF STATE OF NORTH
                             CAROLINA:

                             JOSH STEIN
                             Attorney General

                             Kunal Janak Choksi
                             Joshua Daniel Abram
                             Jonathan R. Marx
                             Jessica Vance Sutton
                             North Carolina Department of Justice
                             114 W. Edenton St.
                             Raleigh, NC 27603
                             919-716-6000
                             kchoksi@ncdoj.gov
                             jabram@ncdoj.gov
                             jmarx@ncdoj.gov
                             jsutton2@ncdoj.gov

                             Counsel for Plaintiff North Carolina


                             FOR PLAINTIFF STATE OF TENNESSEE:

                             JONATHAN SKRMETTI
                             Attorney General

                             J. David McDowell
                             Chris Dunbar
                             Office of the Attorney General and Reporter
                             P.O. Box 20207
                             Nashville.TN 37202
                             (615) 741-8722
                             David.McDowell@ag.tn.gov
                             Chris.Dunbar@ag.tn.gov

                             Counsel for Plaintiff Tennessee




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                             FOR PLAINTIFF STATE OF UTAH:

                             SEAN D. REYES
                             Attorney General

                             Scott R. Ryther
                             Tara Pincock
                             Utah Office of Attorney General
                             160 E 300 S, 5th Floor
                             P.O. Box 142320
                             Salt Lake City, Utah 84114
                             385-881-3742
                             sryther@agutah.gov
                             tpincock@agutah.gov

                             Counsel for Plaintiff Utah


                             FOR PLAINTIFF STATE OF ALASKA:

                             TREG TAYLOR
                             Attorney General

                             Jeff Pickett
                             State of Alaska, Department of Law
                             Office of the Attorney General
                             1031 W. Fourth Avenue, Suite 200
                             Anchorage, Alaska 99501
                             Tel: (907) 269-5100
                             Jeff.pickett@alaska.gov

                             Counsel for Plaintiff Alaska




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Case 1:20-cv-03010-APM Document 539 Filed 03/13/23 Page 13 of 26




                             FOR PLAINTIFF STATE OF CONNECTICUT:
                             WILLIAM TONG
                             Attorney General

                             Nicole Demers
                             Office of the Attorney General of Connecticut
                             165 Capitol Avenue, Suite 5000
                             Hartford, CT 06106
                             860-808-5202
                             Nicole.demers@ct.gov

                             Counsel for Plaintiff Connecticut


                             FOR PLAINTIFF STATE OF DELAWARE:

                             KATHY JENNINGS
                             Attorney General

                             Michael Andrew Undorf
                             Delaware Department of Justice
                             Fraud and Consumer Protection Division
                             820 N. French St., 5th Floor
                             Wilmington, DE 19801
                             302-577-8924
                             Michael.undorf@delaware.gov

                             Counsel for Plaintiff Delaware


                             FOR PLAINTIFF DISTRICT OF COLUMBIA:

                             BRIAN SCHWALB
                             Attorney General

                             Elizabeth Gentry Arthur
                             Office of the Attorney General for the District of
                             Columbia
                             400 6th Street NW
                             Washington, DC 20001
                             202-724-6514
                             Elizabeth.arthur@dc.gov

                             Counsel for Plaintiff District of Columbia




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                             FOR PLAINTIFF TERRITORY OF GUAM:

                             DOUGLAS MOYLAN
                             Attorney General

                             Fred Nishihira, Chief, Consumer Protection
                             Division
                             Office of the Attorney General of Guam
                             590 S. Marine Corps Drive, Suite 901
                             Tamuning, Guam 96913
                             Tel: (671) 475-3324

                             Counsel for Plaintiff Guam


                             FOR PLAINTIFF STATE OF HAWAI‘I:

                             ANNE E. LOPEZ
                             Attorney General

                             Rodney I. Kimura
                             Department of the Attorney General, State of
                             Hawai‘i
                             Commerce & Economic Development
                             425 Queen Street
                             Honolulu, HI 96813
                             808-586-1180
                             Rodney.i.kimura@hawaii.gov

                             Counsel for Plaintiff Hawai‘i




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                             FOR PLAINTIFF STATE OF IDAHO:

                             RAÚL LABRADOR
                             Attorney General

                             John K. Olson
                             Office of the Idaho Attorney General
                             Consumer Protection Division
                             954 W. State St., 2nd Floor
                             P.O. Box 83720
                             Boise, ID 83720
                             208-334-4114
                             Brett.delange@ag.idaho.gov
                             John.olson@ag.idaho.gov

                             Counsel for Plaintiff Idaho


                             FOR PLAINTIFF STATE OF ILLINOIS:

                             KWAME RAOUL
                             Attorney General

                             Elizabeth Maxeiner
                             Brian Yost
                             Office of the Attorney General of Illinois
                             100 W. Randolph St.
                             Chicago, IL 60601
                             773-590-7935
                             Elizabeth.maxeiner@ilag.gov
                             Brian.yost@ilag.gov

                             Counsel for Plaintiff Illinois




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                             FOR PLAINTIFF STATE OF KANSAS:

                             KRIS W. KOBACH
                             Attorney General

                             Lynette R. Bakker
                             Kansas Office of the Attorney General
                             120 S.W. 10th Avenue., 2nd Floor
                             Topeka, KS 66612
                             Tel: (785) 296-3751
                             Lynette.bakker@ag.ks.gov

                             Counsel for Plaintiff Kansas


                             FOR PLAINTIFF STATE OF MAINE:

                             AARON M. FREY
                             Attorney General

                             Christina M. Moylan
                             Office of the Attorney General of Maine
                             6 State House Station
                             August, ME 04333
                             207-626-8800
                             Christina.moylan@maine.gov

                             Counsel for Plaintiff Maine




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                             FOR PLAINTIFF STATE OF MARYLAND:

                             ANTHONY G. BROWN
                             Attorney General

                             Schonette J. Walker
                             Gary Honick
                             Office of the Attorney General of Maryland
                             200 St. Paul Place, 19th Floor
                             Baltimore, MD 21202
                             410-576-6480
                             swalker@oag.state.md.us
                             ghonick@oag.state.md.us

                             Counsel for Plaintiff Maryland


                             FOR PLAINTIFF COMMONWEALTH
                             MASSACHUSETTS:

                             ANDREA CAMPBELL
                             Attorney General

                             William T. Matlack
                             Michael B. MacKenzie
                             Office of the Attorney General of Massachusetts
                             One Ashburton Place, 18th Fl.
                             Boston, MA 02108
                             Tel: (617) 727-2200
                             William.matlack@mass.gov
                             Michael.Mackenzie@mass.gov

                             Counsel for Plaintiff Massachusetts




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                             FOR PLAINTIFF STATE MINNESOTA:

                             KEITH ELLISON
                             Attorney General

                             Zachary William Biesanz
                             Office of the Minnesota Attorney General
                             Consumer, Wage, and Antitrust Division
                             445 Minnesota Street, Suite 1400
                             St. Paul, MN 55101
                             651-757-1257
                             Zach.biesanz@ag.state.mn.us

                             Counsel for Plaintiff Minnesota


                             FOR PLAINTIFF STATE OF NEVADA:

                             AARON D. FORD
                             Attorney General

                             Michelle Christine Newman
                             Lucas J. Tucker
                             Nevada Office of the Attorney General
                             100 N. Carson Street
                             Carson City, NV 89701
                             775-684-1164
                             mnewman@ag.nv.gov
                             ltucker@ag.nv.gov

                             Counsel for Plaintiff Nevada




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                             FOR PLAINTIFF STATE OF NEW
                             HAMPSHIRE:

                             JOHN FORMELLA
                             Attorney General

                             Brandon Garod
                             Office of Attorney General of New Hampshire
                             33 Capitol Street
                             Concord, NH 03301
                             603-271-1217
                             Brandon.h.garod@doj.nh.gov

                             Counsel for Plaintiff New Hampshire


                             FOR PLAINTIFF STATE OF NEW JERSEY:

                             MATT PLATKIN
                             Attorney General

                             Isabella R. Pitt
                             Deputy Attorney General
                             New Jersey Attorney General’s Office
                             124 Halsey Street, 5th Floor
                             Newark, NJ 07102
                             973-648-7819
                             Isabella.Pitt@law.njoag.gov

                             Counsel for Plaintiff New Jersey




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Case 1:20-cv-03010-APM Document 539 Filed 03/13/23 Page 20 of 26




                             FOR PLAINTIFF STATE OF NEW MEXICO:

                             RAUL TORREZ
                             Attorney General

                             Judith E. Paquin
                             Cholla Khoury
                             Assistant Attorney General
                             New Mexico Office of the Attorney General
                             408 Galisteo St.
                             Santa Fe, NM 87504
                             Tel: 505-490-4885
                             jpaquin@nmag.gov
                             ckhoury@nmag.gov

                             Counsel for Plaintiff New Mexico


                             FOR PLAINTIFF STATE NORTH DAKOTA:

                             DREW WRIGLEY
                             Attorney General

                             Elin S. Alm
                             Assistant Attorney General
                             Consumer Protection and Antitrust Division
                             Office of the Attorney General of North Dakota
                             1720 Burlington Drive, Suite C
                             Bismarck, ND 58504
                             701-328-5570
                             ealm@nd.gov

                             Counsel for Plaintiff North Dakota




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                             FOR PLAINTIFF STATE OHIO:

                             DAVE YOST
                             Attorney General

                             Jennifer Pratt
                             Beth Ann Finnerty
                             Mark Kittel
                             Office of the Attorney General of Ohio
                             30 E Broad Street, 26th Floor
                             Columbus, OH 43215
                             614-466-4328
                             Jennifer.pratt@ohioattorneygeneral.gov
                             Beth.finnerty@ohioattorneygeneral.gov
                             Mark.kittel@ohioattorneygeneral.gov

                             Counsel for Plaintiff Ohio


                             FOR THE PLAINTIFF STATE OKLAHOMA:

                             GENTNER DRUMMOND
                             Attorney General

                             Caleb J. Smith
                             Office of the Oklahoma Attorney General
                             313 NE 21st St
                             Oklahoma City, OK 73105
                             Tel: (405) 522-1014
                             Caleb.Smith@oag.ok.gov

                             Counsel for Plaintiff Oklahoma




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Case 1:20-cv-03010-APM Document 539 Filed 03/13/23 Page 22 of 26




                             FOR PLAINTIFF STATE OREGON:

                             ELLEN ROSENBLUM
                             Attorney General

                             Cheryl Hiemstra
                             Oregon Department of Justice
                             1162 Court St. NE
                             Salem, OR 97301
                             503-934-4400
                             Cheryl.hiemstra@doj.state.or.us

                             Counsel for Plaintiff Oregon


                             FOR PLAINTIFF COMMONWEALTH
                             PENNSYLVANIA:

                             MICHELLE HENRY
                             Attorney General

                             Tracy W. Wertz
                             Joseph S. Betsko
                             Pennsylvania Office of Attorney General
                             Strawberry Square
                             Harrisburg, PA 17120
                             Tel: (717) 787-4530
                             jbetsko@attorneygeneral.gov
                             twertz@attorneygeneral.gov

                             Counsel for Plaintiff Pennsylvania




                               22
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                             FOR PLAINTIFF TERRITORY PUERTO
                             RICO:

                             DOMINGO HERNANDEZ
                             Attorney General

                             Guarionex Diaz Martinez
                             Assistant Attorney General
                             Antitrust Division
                             Puerto Rico Department of Justice
                             P.O. Box 9020192
                             San Juan, Puerto Rico 00902
                             Tel: (787) 721-2900, ext. 1201
                             gdiaz@justicia.pr.gov

                             Counsel for Plaintiff Puerto Rico


                             FOR PLAINTIFF STATE RHODE ISLAND:

                             PETER NERONHA
                             Attorney General

                             Stephen Provazza
                             Rhode Island Office of the Attorney General
                             150 South Main Street
                             Providence, RI 02903
                             Tel: (401) 274-4400
                             SProvazza@riag.ri.gov

                             Counsel for Plaintiff Rhode Island




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Case 1:20-cv-03010-APM Document 539 Filed 03/13/23 Page 24 of 26




                             FOR PLAINTIFF STATE SOUTH DAKOTA:

                             MARTY J. JACKLEY
                             Attorney General

                             Yvette K. Lafrentz
                             Office of the Attorney General of South Dakota
                             1302 E. Hwy 14, Suite 1
                             Pierre, SD 57501
                             605-773-3215
                             Yvette.lafrentz@state.sd.us

                             Counsel for Plaintiff South Dakota



                             FOR PLAINTIFF STATE VERMONT:

                             CHARITY R. CLARK
                             Attorney General

                             Christopher J. Curtis
                             Assistant Attorney General
                             Office of the Attorney General of Vermont
                             109 State St.
                             Montpelier, VT 05609
                             802-828-3170
                             Ryan.kriger@vermont.gov

                             Counsel for Plaintiff Vermont




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                             FOR PLAINTIFF COMMONWEALTH
                             VIRGINIA:

                             JASON S. MIYARES
                             Attorney General

                             Tyler T. Henry
                             thenry@oag.state.va.us
                             Office of the Attorney General of Virginia
                             202 N. 9th Street
                             Richmond, VA 23219
                             Tel: (804) 692-0485

                             Counsel for Plaintiff Virginia


                             FOR PLAINTIFF STATE WASHINGTON:

                             BOB FERGUSON
                             Attorney General

                             Amy Hanson
                             Washington State Attorney General
                             800 Fifth Avenue, Suite 2000
                             Seattle, WA 98104
                             206-464-5419
                             Amy.hanson@atg.wa.gov

                             Counsel for Plaintiff Washington




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                             FOR PLAINTIFF STATE WEST VIRGINIA:

                             PATRICK MORRISEY
                             Attorney General

                             Douglas Lee Davis
                             Office of the Attorney General, State of West
                             Virginia
                             1900 Kanawha Boulevard, East
                             Building 6, Suite 402
                             P.O. Box 1789
                             Charleston, WV 25305
                             304-558-8986
                             Douglas.l.davis@wvago.gov

                             Counsel for Plaintiff West Virginia


                             FOR PLAINTIFF STATE WYOMING:

                             BRIDGET HILL
                             Attorney General

                             Benjamin Peterson
                             Wyoming Attorney General’s Office
                             2320 Capitol Avenue
                             Kendrick Building
                             Cheyenne, WY 82002
                             (307) 777-6397
                             Benjamin.peterson2@wyo.gov

                             Counsel for Plaintiff Wyoming




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